       Case 4:12-cr-00012-JAJ-RAW Document 48 Filed 03/16/12 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA



UNITED STATES OF AMERICA,
                                                NO. 4:12-cr-00012-JAJ-RAW
                Plaintiff,

      vs.

OLGA LIDIA LARA MORALES,

                Defendant.


 REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY
                  (PLEA AGREEMENT)

                The United States of America and the defendant,                   having

both filed a written consent to conduct of the plea proceedings by

a magistrate judge,           appeared before me pursuant to Fed. R.                Crim.

P.    11 and LCrR 11.          The defendant entered a            plea of guilty to

Count 1 of an Indictment charging her with conspiracy to distribute

500     grams     or   more     of     a   mixture      and    substance     containing

methamphetamine, in violation of 21 U.S.C.                §§    846 and 841(b) (1) (A).

After advising and questioning the defendant under oath concerning

each of the subjects addressed in Rule 11(b) (1),                   I determined that

the guilty plea was            in    its   entirety voluntarily,          knowingly and

intelligently made           and    did not    result    from    force,    threats,    or

promises    (other than promises in the plea agreement).                      I   further

determined that there is a factual basis for the guilty plea on each

of the essential elements of the offense(s)                     in question.      A plea

agreement was disclosed at the plea proceeding and defendant stated
       Case 4:12-cr-00012-JAJ-RAW Document 48 Filed 03/16/12 Page 2 of 2



she understood its terms and agreed to be bound by them.                        To the

extent      the      plea   agreement     is     of    the       type    specified   in

Rule 11(c) (1) (A) or (C) defendant was advised the district judge to

whom the case is assigned may accept the plea agreement, reject it,

or defer a decision whether to accept or reject it until the judge

has reviewed the presentence report as provided by Rule 11 (c) (3) (A) .

To    the   extent    the   plea   agreement     is   of   the    type   specified   in

Rule 11(c) (1) (B) defendant was advised by the Court that defendant

has no right to withdraw the plea if the Court does not follow a

recommendation or request in question.

              I recommend that the plea of guilty be accepted and that

the    defendant       be   adjudged    guilty    and      have    sentence    imposed

accordingly.      A presentence report has been ordered and a sentencing

date set.




                                                             MAGISTRATE JUDGE




                                        NOTICE

             Failure by a party to file written objections to this
Report and Recommendation within fourteen (14) days from the date of
its service will result in waiver by that party of the right to make
objections     to   the  Report   and  Recommendation.      28  U.S.C.
§ 636 (b) (1) (B).  The Report and Recommendation was served this date
by delivery of a copy thereof to counsel for the government and
defendant in open court.

                                          2
